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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PETER ALLEN, et al.,

Plaintiffs,
No. 19-CV-8173 (LAP)

-against-

ORDER
CARL KOENIGSMANN, et al.,

Defendants.

LORETTA A. PRESKA, Senior United States District Judge:

The Court hereby grants Plaintiffs’ motion for attorneys’
fees, (see dkt. no. 820), for the reasons and to the extent the
Court set forth on the record at the hearing held on February
2i, 2024,

SO ORDERED.

Dated: February 22, 2024
New York, New York

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Yourls  etles

LORETTA A. PRESKA
Senior United States District Judge

